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       1                        UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY
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           ___________________________
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           SANDOZ, INC., RAREGEN, LLC,         CIVIL ACTION NUMBER:
       4
                 Plaintiffs,                   3:19-cv-10170-BRM-LHG
       5
                 v.                            PRELIMINARY INJUNCTION
       6                                       HEARING
           UNITED THERAPEUTICS
       7   CORPORATION, SMITHS MEDICAL
           ASD, INC.,
       8
                Defendants.
       9   ____________________________
                Martin Luther King Building & U.S. Courthouse
      10        50 Walnut Street, Newark, New Jersey 07101
                Tuesday, December 10, 2019
      11        Commencing at 10:50 a.m.

      12   B E F O R E:                 THE HONORABLE BRIAN R. MARTINOTTI,
                                        UNITED STATES DISTRICT JUDGE
      13
           A P P E A R A N C E S:
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      25   Proceedings recorded by mechanical stenography; transcript
                  produced by computer-aided transcription.



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       1               (PROCEEDINGS held in open court before The Honorable

       2   BRIAN R. MARTINOTTI, United States District Judge, on December

       3   10, 2019, at 10:50 a.m.)

       4               THE COURT:   Welcome everyone.    Good morning.     First,

       5   thank you for accommodating the venue change.         Much

       6   appreciated.

       7            Before we get started, would conversation help?

       8               MR. GLASS:   Yes, Your Honor.

       9               THE COURT:   Can you pick two a side to come in

      10   chambers?

      11               MR. KENT:    Your Honor, would you like outside

      12   counsel?

      13               THE COURT:   Two lawyers on each side.     Can we do

      14   that?

      15               MR. BENNETT:   Of course, Your Honor.

      16               (A short recess occurred.)

      17               THE COURT:   Good morning again, counsel.

      18            We did have a quick conversation in chambers.        It does

      19   not appear at this point we are going to be able to make any

      20   progress.    That being said, I did put a text order on the

      21   docket indicating you have a half hour each for your arguments

      22   with 15 minutes.     You can use your time putting your

      23   appearances on the record or we can just go.         Anyway, go

      24   ahead.   Appearances for the record, please.        I was teasing.

      25   You could all be seated.




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       1             MR. GLASS:    Thank you, Your Honor.      On behalf of

       2   RareGen, my name is Ethan Glass.       With me at counsel table is

       3   Thomas Pease and Mike Bonanno.       Also, Peter Calamari is here

       4   on behalf of RareGen with the clients.

       5             THE COURT:    Thank you.

       6             MR. KENT:    Good morning, Your Honor.      Matthew Kent

       7   from Alston & Bird on behalf of plaintiff Sandoz, Inc.           And

       8   I'm joined today by Ms. Kramer, Ms. Thompson, and Mr. Parente

       9   also of Alston & Bird.      And I have two client representatives

      10   also present.

      11             MR. ORLOFSKY:     Good morning, Your Honor.      Stephen

      12   Orlofsky, Blank Rome, LLP, on behalf of United Therapeutics

      13   Corporation.    With me today, Your Honor, are my colleagues

      14   from Williams & Connolly, Jonathan Pitt, Edward Bennett, Sean

      15   Douglass, and Christopher Berg.       Also of Blank Rome, Adrienne

      16   Rogove and Michael Darbee.

      17             THE COURT:    Thank you.

      18             MR. BOYLE:    Your Honor, Peter Boyle for Smiths

      19   Medical ASD.    With me today are my partners Fred Whitmer and

      20   Christina Fahmy.     We also have here in the courtroom Gretchen

      21   Randall who is general counsel of Smiths Medical and Meghan

      22   Hansen who is associate general counsel.

      23             THE COURT:    Okay.

      24           Counsel.

      25             MR. GLASS:    Your Honor, may I take my cell phone to




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       1   keep track of time?

       2             THE COURT:    Sure.

       3             MR. GLASS:    Your Honor, may I also approach?        We have

       4   copies of our slides.

       5             THE COURT:    Okay.

       6             MR. GLASS:    Your Honor, again, Ethan Glass on behalf

       7   of plaintiff RareGen.

       8           Your Honor, we're not going to present the slides on

       9   the screen.    We are not as technologically capable as the

      10   other parties.

      11             THE COURT:    Okay.

      12             MR. GLASS:    But we have provided copies of the slides

      13   to the defendants.

      14           Your Honor, we have also talked with the defendants

      15   about confidentiality, and we have come to an agreement that

      16   the slides that we're showing today and the evidence presented

      17   may be presented in open court, and it may be provided to

      18   everybody's client with the exception being any numbers

      19   relating to price.

      20             THE COURT:    Okay.

      21             MR. GLASS:    So we're not going to orally state the

      22   numbers, but I will point you -- if I have a number I want to

      23   show you -- in the slides.

      24             THE COURT:    Okay.

      25             MR. GLASS:    Thank you, Your Honor.




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       1               THE COURT:   That's agreed by both sides?

       2               MR. BENNETT:   Yes, Your Honor.    With the addition of

       3   talking about patient population size.

       4               THE COURT:   Okay.

       5               MR. GLASS:   Your Honor, as we stated in our brief,

       6   and as the defendants have failed to contest --

       7               THE COURT:   Where is the irreparable harm to your

       8   clients as we stand here today?

       9               MR. GLASS:   Thank you, Your Honor.

      10           Your Honor, there has been irreparable harm to date,

      11   but there would also be irreparable harm going forward.           So

      12   the irreparable harm going forward, which would be remedied by

      13   a preliminary injunction, is the harm to our client's

      14   goodwill.    It's the harm --

      15               THE COURT:   How?

      16               MR. GLASS:   Because the way that generic supply works

      17   is that the purchasers were -- for this drug is only two

      18   pharmacies, CVS and Accredo.       The purchasers are desperately

      19   focused on supply guarantee.       So the number one consideration

      20   when you're selling a generic is that you can --

      21               THE COURT:   You can supply all the drugs that they

      22   need.   The problem is delivering it to a patient --

      23               MR. GLASS:   Correct, Your Honor.

      24               THE COURT:   -- which is out of your control.       It's

      25   not like your factory can't produce the drug.




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       1             MR. GLASS:    That's correct, Your Honor.

       2             THE COURT:    Okay.    How does that transcend into your

       3   reputation?

       4             MR. GLASS:    So our reputation is hurt because we have

       5   gone on to market with the drug that we can make.

       6             THE COURT:    Right.

       7             MR. GLASS:    We approached both specialty pharmacies

       8   in late 2018 to have supply contracts.        In those discussions,

       9   the specialty pharmacies told us that all we needed was the

      10   drugs.   They had pumps.     They had cartridges.     We told them we

      11   were going to be able to solve the drug issue for them.           They

      12   told us they had pumps and cartridges available.

      13             THE COURT:    Right.

      14             MR. GLASS:    Then --

      15             THE COURT:    Through no fault of you or your client,

      16   there's no cartridges and pumps.

      17             MR. GLASS:    That's right.     And so the problem now is

      18   that these specialty pharmacies, whether it's our fault or

      19   not --

      20             THE COURT:    Right.

      21             MR. GLASS:    -- are skeptical that we're going to be

      22   able to deliver on our promises to make the drug available.

      23             THE COURT:    Well, how can you say that when part of

      24   your papers talk about the fact that the defendants really put

      25   pressure on these pharmacies to exclude you from the market?




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       1   And then they're going to turn around and say you can't

       2   produce for us when they were complicit in this, perhaps?

       3             MR. GLASS:    Yes, Your Honor.     Because they'll make

       4   the same arguments to the specialty pharmacies that they've

       5   made to Your Honor, which is that we should have anticipated

       6   the anticompetitive conduct.       We should have had pumps and

       7   cartridges arranged before we launched, and because we didn't

       8   it's our fault.     And then it's just a debate with the

       9   specialty pharmacies.      On one hand, we've got the defendants

      10   telling the specialty pharmacies it's our fault.          On the other

      11   hand, we're telling the specialty pharmacies it's their fault.

      12   All the while the defendants are supplying both pumps and

      13   cartridges.

      14             THE COURT:    But the specialty pharmacy says to you we

      15   just need your product.      We have a method of delivery.       And

      16   then they say to you we don't have a method of delivery

      17   anymore because of what they did.       You should have thought

      18   about this the same way they did, to arrange this arrangement

      19   or to get into this arrangement, and that's your fault, even

      20   though we, the pharmacy, said we had a method of delivery?

      21             MR. GLASS:    So there's two other parties involved in

      22   this.

      23             THE COURT:    Okay.

      24             MR. GLASS:    I don't want them to get lost.

      25             THE COURT:    Okay.




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       1               MR. GLASS:   We've got prescribers and we've got

       2   patients.

       3               THE COURT:   Right.

       4               MR. GLASS:   That's in addition to the specialty

       5   pharmacies.    So even if we are able to persuade the specialty

       6   pharmacies that it's their fault, while they're telling us

       7   it's our -- they're telling the specialty pharmacies it's our

       8   fault.   We need prescribers to prescribe the generic.         We need

       9   payers to put on their formularies the generic, and we need

      10   patients to not push back on the prescribers about the

      11   generic.    And those are all parties that have no idea that

      12   there was this scheme.

      13               THE COURT:   Are they part of this lawsuit?

      14               MR. GLASS:   No, they're not part of this lawsuit.

      15               THE COURT:   So I come back to how's this harming you,

      16   aside from the fact that your company isn't able to sell the

      17   product and receive money for your product?

      18               MR. GLASS:   Because -- let me give you an example.

      19   If we receive the injunction today and we had access to

      20   cartridges, that would solve our cartridge problem.          But we

      21   would need to go to the prescribers and explain to them what

      22   has happened over the past nine months since they thought we

      23   were going to be able to launch but couldn't.

      24               THE COURT:   Does a prescriber actually write a

      25   prescription for a generic, or does a prescriber write the




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        1   prescription and then you go to the pharmacy and the pharmacy

        2   says we have the generic, or you get into an intermediary that

        3   says, you know, the generic is X, the branded is X to the

        4   second power?

        5             MR. GLASS:    This is why the payers, the insurance

        6   companies are important because it starts with them.          The

        7   payers have a formulary which are the drugs that are covered

        8   by their insurance policies.      The payers will require

        9   mandatory substitution for certain drugs meaning that when you

       10   or I go to the pharmacy to fill our prescription, the pharmacy

       11   will have to substitute to the generic, regardless of how the

       12   prescription is written.

       13             THE COURT:    Okay.

       14             MR. GLASS:    The doctors can check a little box called

       15   "dispense as written" to override that.        And so what we need

       16   is we need everybody in this ecosystem to understand that we

       17   have secure supply.     We need the insurers to put us on their

       18   formulary, which they have not because we are unable to launch

       19   in subcutaneous.    We need the insurers to say that there's

       20   mandatory substitution, which they will only do if there's

       21   insured supply.    We need the doctors to not check "dispensed

       22   as written," and we need the specialty pharmacies to actually

       23   stock and dispense.

       24           The problem with the theory that the specialty

       25   pharmacies know what's going on is that they're only one piece




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        1   of the entire puzzle, and that's irreparable injury because

        2   but for the unlawful restraints, we would have launched and

        3   everybody in the ecosystem would have been able to test our

        4   product, see whether or not it should be on formularies, see

        5   whether or not doctors want to prescribe it or mark it

        6   "dispense as written."     But now, nine months later, there's

        7   been a significant diminution of our good will.         And we can

        8   regularly interact with the prescribers.        We have day-to-day

        9   meetings with the prescribers so that they don't check

       10   "dispense as written."     We meet with the insurers so they put

       11   us on their formulary.     And so that's been a significant

       12   irreparable injury.     That continues on.     And what we know is

       13   that at some point there's a tipping point.        At some point the

       14   prescribers and the insurers and the specialty pharmacies and

       15   the patients give up on the generic supplier.         And so our

       16   concern is that that tipping point is in the near future

       17   where even if we got access to cartridges, they will have

       18   written us off.    And we have a good example of that.        Another

       19   PAH drug, which uses a different approach called Flolan --

       20             THE COURT:    That was a manufacturing issue, wasn't

       21   it?

       22             MR. GLASS:    It was, but the problem is --

       23             THE COURT:    It was their manufacturing plant.

       24             MR. GLASS:    But the patients and the prescribers --

       25             THE COURT:    But it was their own fault.      I mean, this




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        1   is -- there's a third party -- I'm saying it, but I don't mean

        2   it -- to blame here.

        3              MR. GLASS:    There is but nobody knows that.      This has

        4   all been confidential.     The reason we asked for discovery from

        5   Your Honor is because we approached the specialty pharmacies

        6   and they told us no problem.      We started talking with them

        7   about contracts.    Then all of a sudden they told us, actually,

        8   we can't stock you.     That's the only interaction that alerted

        9   us to this conduct.     Everything has been secret.      There's been

       10   nothing that's been publicly announced.        Nothing made public

       11   through this litigation.      There's a protective order, and so

       12   if we go and we tell the insurers and the payers and the

       13   patients actually it was their fault, they're going to say, we

       14   don't know that.    There's no evidence of that.

       15           And that's the core problem with our irreparable injury

       16   is that every day that goes by, they win.        Because not only do

       17   they get the millions of dollars of overpayments by patients,

       18   but they also reduce incrementally the prospect that we will

       19   succeed.

       20              THE COURT:    So let me ask you the question, which

       21   really is looming.      How come, when they knew what was going to

       22   happen in 2015, and they reacted, how come your client didn't

       23   react the same way or act as quick?

       24              MR. GLASS:    So Mr. Kent will speak specifically to

       25   the Sandoz issues.      But I'll tell you, Your Honor, that we




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        1   didn't know that they were going to corner the market on

        2   cartridges.    In fact, from my client's perspective, RareGen's

        3   perspective, we were talking to the specialty pharmacies in

        4   late 2018, and there was no such restriction.         What defendants

        5   like to cite is an end-of-life notice for the pump.          This

        6   isn't a pump case.       We're not here to talk about the pumps.

        7   We understood that the pumps that were in Accredo's possession

        8   were owned by Accredo and available to use with whoever

        9   Accredo dispensed it with.

       10             So the idea that 2015 and 2016 we had any notice is

       11   fiction.    The first we learned of it, the first we learned of

       12   it, the first we learned of it was when Accredo and CVS

       13   changed abruptly in late 2018, and said, we can no longer talk

       14   with you about stocking your drug.       That's when we said, oh,

       15   my gosh, something has changed in the market.         We approached

       16   UT and Smiths to try to resolve this, and then we sued in

       17   April.    So there was no delay and there was diligence.

       18             We also, Your Honor, right when we heard that there was

       19   an issue, started working on alternatives.        So we were

       20   reaching out to alternative pump suppliers.        We were reaching

       21   out to alternative cartridge suppliers.        We wouldn't be here

       22   today if we had an alternative pump or cartridge to offer the

       23   market.

       24               THE COURT:    And you're still pursuing that avenue?

       25               MR. GLASS:    We're still pursuing that, Your Honor, to




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        1   this day.    We have a third party who we're working with that

        2   we expect will be able to make cartridges for us eventually,

        3   but we don't have any cartridges today and there's no imminent

        4   cartridge launch.

        5            Your Honor, one more thing on irreparable injury, if I

        6   may, and then I'll be happy to answer any more questions Your

        7   Honor has.

        8            We had a 180-day exclusivity period.      The 180

        9   exclusivity period is statutorily granted to the first ANDA

       10   filer.   I'm sure Your Honor has had Hatch-Waxan cases and

       11   knows that when the party who challenges the patent prevails

       12   in court, that party gets 180-day exclusivity.         We got that on

       13   a -- based on a settlement.

       14               THE COURT:   Right.

       15               MR. GLASS:   Your Honor --

       16               THE COURT:   So you're saying they entered that

       17   settlement with unclean hands because they knew,

       18   notwithstanding what the agreement was when you were going to

       19   go to launch, you couldn't launch because there was no way to

       20   deliver your product?

       21               MR. GLASS:   So from my third-party perspective

       22   because RareGen was not a party to that, yes.         I'll let Sandoz

       23   specifically discuss what Sandoz expected.        But when I look at

       24   that contract and the contract says you may launch on this

       25   date, but they knew that when we got close to launching that




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        1   they were going to incumber our launch by making the

        2   cartridges unavailable, that is not good faith, Your Honor.

        3           And Your Honor, that just goes back to there isn't a

        4   lack of diligence.      Sandoz could reasonably expect that if

        5   there was a contractual provision that said that it could

        6   launch, that there wouldn't be any impediments placed by the

        7   parties to that settlement agreement.

        8           And Your Honor, the 180-day exclusivity period has

        9   expired.   It started and it has expired.       That's irreparable

       10   injury because the way generics also work is that the 180

       11   exclusivity grantee, the party that has the right to be the

       12   exclusive generic, almost always has an advantage over the

       13   other generics.    Because like the brand, being able to get in

       14   with the doctors, get in with the insurance companies, get in

       15   with the specialty pharmacies and get in with the patients,

       16   there's a reluctance to switch.       And that is gone.    We will

       17   never get that back.

       18           So that's an irreparable injury that continues for us,

       19   in addition to the incrementally diminishing possibility that

       20   we can even succeed.

       21              THE COURT:    I took you off track.    I probably got to

       22   some of what you wanted to talk about.

       23              MR. GLASS:    For sure, Your Honor.

       24              THE COURT:    Okay.

       25              MR. GLASS:    So, Your Honor, just to conclude about




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        1   the non-likelihood of success factors.        So RareGen and Sandoz

        2   are suffering monetary damages.       That we don't dispute.     But

        3   we also have this irreparable injury component that has

        4   happened and continues.

        5            On the other hand, if the injunction is granted, there

        6   is no irreparable injury to the defendants.        So when we're

        7   talking about an injunction, we're looking at the but-for

        8   world.   The but-for world is Your Honor grants the injunction,

        9   they just have to compete.       They have to provide better

       10   quality products and lower prices to keep us from gaining

       11   their customers.    That can't be irreparable injury.        That

       12   can't be injury at all.     That's a benefit.

       13              THE COURT:   Well, what is the status of these pumps

       14   and cartridges right now?      Who owns them?

       15              MR. GLASS:   So, Your Honor, it depends on which pumps

       16   you're talking about.

       17              THE COURT:   Right.

       18              MR. GLASS:   So for pumps, our understanding is

       19   Accredo, the largest specialty pharmacy, which has a

       20   significant portion of the patients that it cares for, has

       21   enough pumps to service all of its patients.         Those pumps are

       22   unencumbered by defendants.      So those are the pumps that we

       23   would use with Accredo's permission to the patients who are

       24   using the generic treprostinil.

       25              THE COURT:   Absent the agreement.




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        1             MR. GLASS:    Absent the agreement.

        2             THE COURT:    Okay.

        3             MR. GLASS:    There are also pumps that are under

        4   defendant's control, which we're not talking about in our

        5   case.   We're not talking about here.

        6             THE COURT:    They own or they control.

        7             MR. GLASS:    That they control them and they can use

        8   them, and we're not asking for the injunction to apply to

        9   those pumps.

       10             THE COURT:    Okay.

       11             MR. GLASS:    Cartridges, the way that cartridges

       12   worked before the restraints was that a specialty pharmacy

       13   would place an order to Smiths to purchase cartridges.          That

       14   order would then be filled, no questions.        Just you need 2,000

       15   cartridges, we're going to fill them.

       16           Now, the way that the cartridge supply works, is that

       17   specialty pharmacies places an order with UTC, and UTC makes

       18   sure that the specialty pharmacies are not using those

       19   cartridges for a generic.       Once UTC is comfortable that the

       20   specialty pharmacies are only using it for Remodulin®, then

       21   UTC will sell them the cartridges.

       22             THE COURT:    Who owns those cartridges?

       23             MR. GLASS:    UTC does.

       24             THE COURT:    And how about if UTC says we'll sell you

       25   these cartridges, but as double what the market price has?




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        1              MR. GLASS:    Your Honor, I don't want to speak for my

        2   clients, but I'm sure they would take that.        I -- I have no

        3   doubt that my client would buy cartridges from UTC at a hefty

        4   premium to what UTC paid for them.

        5            Your Honor, again, I haven't consulted with my client.

        6              THE COURT:    You want to go back in the conference

        7   room?

        8              MR. GLASS:    I mean, Your Honor, it shows you how

        9   important the cartridges are.      I don't want to negotiate for

       10   my client, but I'm not sure there's any number you can tell me

       11   today that I wouldn't take back to my client and we would have

       12   a very serious discussion of paying that.

       13            Now, Your Honor, the balance of harms and important

       14   part -- and this goes to irreparable injury in a very unique

       15   way for this case.      There is an irreparable injury to the

       16   public as well.    So this normally goes under the public

       17   interest prong.    The public interest prong is normally a

       18   throwaway in preliminary injunction cases that's tacked on to

       19   the end.   Here, the public interest prong is paramount.         The

       20   public interest is in having access to all of the competing

       21   drugs.   That is undisputable.     The public has an interest in

       22   being able to choose between the Remodulin® product and

       23   plaintiff's generic product.      The public has an interest in

       24   the competition that the generic product brings to Remodulin®.

       25              THE COURT:    Well, the public interest isn't that they




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        1   can't get the drug because clearly there are -- they're

        2   getting the drug, albeit at a higher cost, perhaps.          And there

        3   are three other methods that they can get the drug, albeit not

        4   the preferred method of having the drug administered, correct?

        5               MR. GLASS:   Respectfully, Your Honor, no.

        6               THE COURT:   Okay.   Tell me why.

        7               MR. GLASS:   Let me start with, yes, patients can get

        8   access to Remodulin®.     There is no dispute that patients can,

        9   at a 98 percent margin.

       10               THE COURT:   Okay.

       11               MR. GLASS:   So in the annual report -- if Your Honor

       12   will please turn to slide 12.      In UTC's annual report, it

       13   states exactly how much revenue and profit it gets from

       14   Remodulin®.    $599,000,000 in revenue on 584.9 million in

       15   profit.

       16               THE COURT:   Okay.

       17               MR. GLASS:   What would happen is patients and payers

       18   would significantly benefit from the entry of a generic

       19   because that gross profit number, even if Remodulin® kept all

       20   100 percent of its patients, would go down.

       21             How do we know that?   Because on slides 13 and 14, we

       22   have evidence from discovery on what the response was by the

       23   mooted, just the mere threat of RareGen and Sandoz entering.

       24   So this is the part where we've agreed with the defendants not

       25   to say in open court.




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        1             THE COURT:    Okay.

        2             MR. GLASS:    But you can see from this testimony, this

        3   is the president of UTC.      The president of UTC testified that

        4   they increased price in 2018, and they decreased price in

        5   2019.   And the factor for decreasing price instead of

        6   increasing price was the mere shadow of us entering.

        7           So that's where the public would benefit is again going

        8   back to that $585,000,000 in profit, if that went down, that

        9   money doesn't come to us.       That money goes to the public.

       10             THE COURT:    Right.    And again, just so I'm clear, the

       11   public is still getting this drug, albeit at a higher cost.

       12   It's not like the drug isn't available.        And if they can't get

       13   the drug through this method of administration, there are

       14   other ways that it can be administered, albeit not the

       15   preferred way.

       16             MR. GLASS:    Right.    So I'll address the oral and pill

       17   in one second, Your Honor.

       18             THE COURT:    Right.

       19             MR. GLASS:    So access -- we don't have any evidence

       20   that patients who need PAH treatments aren't getting access.

       21   So I want to tell Your Honor we've had very limited discovery.

       22   So we don't have that evidence.       But I will tell Your Honor

       23   that there are patients who cannot afford the drug.          This

       24   happens in every case where when the generic enters, the

       25   number of patients on the treatment expands.




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        1              THE COURT:   Okay.

        2              MR. GLASS:   The reason why is that when you have a

        3   brand -- and I'm not good at math so I won't do the math for

        4   you.   But you can divide the 600,000,000 in revenue by the

        5   number of patients to see what the cost is per treatment, per

        6   patient.

        7              THE COURT:   Okay.

        8              MR. GLASS:   Part of that is paid for by insurance

        9   companies.    Part of that is paid for by the patients

       10   themselves.

       11           We know that there are patient assistance programs that

       12   help lower means, patients, to get access to the drugs.          In

       13   fact, UTC has a patient assistance program, it's on slide 14,

       14   that when we were even threatening to enter, they improved the

       15   benefit on the patient assistance program by a hundred

       16   percent.   They cut the amount that the patients had to pay out

       17   of their own pocket.

       18           But there are two important things to note.         It's still

       19   not zero, and there are patients who cannot even afford the

       20   amount that the patient assistance program offers.         And there

       21   are patients who UTC deems counteracts as the patient

       22   assistance program and don't get the benefits.         So I don't

       23   want to represent that we've got evidence from discovery

       24   because it's been limited.      But I will tell Your Honor that in

       25   the generic cases, which I've litigated many of, as have my




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        1   co-counsel, when the generic enters the number of patients

        2   covered by the treatment expands, that expansion are patients

        3   who are today unable to get on the preferred treatment.          Okay.

        4           Now I'll do the three other routes.       I really want to

        5   address your question on the three other routes.         What does

        6   that mean for those patients?      Well, it's possible that

        7   they're going untreated, but it's unlikely.

        8              THE COURT:   Okay.

        9              MR. GLASS:   The more likely is that they're being

       10   treated by a less preferred drug.       It could be one of the

       11   other three routes.     So there's intravenous, there's oral, and

       12   there's inhaled.    It's possible that some of those patients --

       13              THE COURT:   And they all are either not as effective

       14   or bring other inherent risks to the patient rather than this

       15   type of delivery?

       16              MR. GLASS:   Exactly, Your Honor.     So a physician, not

       17   us, not UTC, makes the determination which route of

       18   administration is best for that patient.        And it's patient by

       19   patient.   There are some patients that just -- inhaled works

       20   best.   There are some patients that can't tolerate the pain of

       21   injections.    There are some patients who are so sick that

       22   inhaled and oral just doesn't work.

       23           And so this is a physician decision.       So the physicians

       24   are making the treatment decisions based upon what's best for

       25   the patient.    The position the defendants are taking is that a




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        1   physician can't prescribe the preferred route of

        2   administration for a particularly sick patient and must

        3   prescribe oral or inhaled if they want a lower price.          And

        4   that's just not right.     It's not right.     Physicians should be

        5   free to prescribe the best administration for the patients.

        6   And the physician shouldn't be put in the very difficult

        7   position of saying, I'm asking the patient to pay more than

        8   they should or the insurer to pay more than they should, and

        9   therefore I'm going to have them do a less preferred.

       10           Even between IV and subcutaneous, there is very little

       11   switching.    So on slide 15, we have testimony from the

       12   president of UTC.    He testified that there's very little

       13   switching from IV to subQ.      He testified the more likely is

       14   the other way around, subQ to IV.       And it makes sense.     There

       15   are a lot of downsides to subQ and would only be if the

       16   patient really needs it.      Most importantly there's a lot of

       17   site pain.    There are also a lot of downsides to IV.        Most

       18   importantly, sepsis, a deadly condition.        So physicians make a

       19   determination on what's the best drug and what's the best

       20   route of administration.

       21           And if I may, Your Honor, the argument the defendants

       22   make that PAH patients have all kinds of other ways they can

       23   be treated, it just really doesn't help in an antitrust case.

       24   In an antitrust case we don't consider every possible

       25   substitute.    We only consider reasonable substitutes.        So in




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        1   this case, it wouldn't be enough that bed rest would help a

        2   PAH patient.    That doesn't make it a substitute.       It's not

        3   enough that some PAH patients benefit from aspirin.          And it's

        4   not enough that some PAH patients are currently untreated or

        5   are on oral, IV or inhaled.      Since the doctors would put them

        6   on subcutaneous, and that's where they would get the distinct

        7   benefit of our competition.

        8           It's not just subcutaneous where they benefit from our

        9   competition, though.     IV patients benefit from our competition

       10   once we get cartridges.     I'm going to take a second because

       11   this is a little hard to explain.       We're currently offering

       12   IV.   Plaintiffs offer IV.     However, to get on the formulary

       13   for the insurance companies, and get the insurance companies

       14   to say must substitute, and to get prescribers on board with

       15   the generic, we also have to be on subQ.        We have evidence of

       16   that.   We've put it in as a declaration, but it's in slide 16,

       17   that our entry, even into IV has been muted because of our

       18   inability to provide a subcutaneous option.

       19           Physicians do not want to have to say, oh, the

       20   Remodulin® substitute is only built for IV because they just

       21   want to be able to prescribe generic or not.

       22           Insurance companies are about simplicity and

       23   efficiency.    They don't want to have to determine whether or

       24   not a person is prescribed for subQ for IV or whether they're

       25   prescribed for subQ or IV based upon some other sort of




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        1   payment avoidance.     So they've told us that we will not go on

        2   a repertory -- we will not go on a formulary until we have a

        3   subQ available product.     And so Your Honor, we're being

        4   blocked not only from subQ, but really from IV as well.

        5             Now, defendants have said we've brought all this on

        6   ourselves.    That we should have done more diligence.        I've

        7   already discussed with Your Honor that we didn't know this

        8   would be a problem until the beginning of this year.

        9             Defendants have also said, well, you shouldn't have

       10   launched an IV.    But that also says that we shouldn't provide

       11   any patients with a lower cost alternative.        That was not

       12   palatable to Sandoz and RareGen.       Sandoz and RareGen launched

       13   an IV so that at least some patients could get the benefit of

       14   choice.    Even if it was imperfect and even if it was muted, we

       15   were not going to hold back our IV product just to make this

       16   case better.    Just to be able to tell Your Honor that we have

       17   a great preliminary injunction.       Not even to preserve 180-day

       18   exclusivity.

       19             So this is really about patients.     We're trying to

       20   serve patients.    We're trying to get that profit down, which

       21   is a return directly to patients in the healthcare system.

       22             And, Your Honor, I know my time is getting short, so I

       23   won't spend too much time on this, but that is exactly what

       24   defendants are worried about.      If we come on the market and we

       25   compete with them, they will lose the Remodulin® franchise,




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        1   which would be devastating.      And you know what?     I don't blame

        2   them.   It's been a great run.     They had patents.     They're

        3   making 98 percent profit.      They're charging whatever they

        4   want.   They're able to put in their annual reports that

        5   they're making almost 600 million dollars.        But, Your Honor,

        6   the patent is over.     They cannot use the anticompetitive

        7   conduct to extend the patent.      They can't continue to block

        8   the generics from being able to approach this patient

        9   population.

       10             But as you'll see in the slides that start my

       11   presentation, that's exactly what they intended to do, and

       12   that's exactly what they did.      And the way that they did was

       13   despicable.    They went to the specialty pharmacies, and they

       14   told the specialty pharmacies you will not get any more

       15   cartridges until you sign these exclusivity agreements.

       16             So Your Honor asked why, you know, we don't have

       17   specialty pharmacies or insurers or patients as parties here.

       18   Because none of them have done anything wrong.         It's a hundred

       19   percent the conduct of defendants that have blocked us from

       20   this market.    They did so by threatening to withhold

       21   cartridges, which the president of UTC admitted -- on slide

       22   4 -- was negotiating leverage to get the specialty pharmacies

       23   to sign the contract that blocked RareGen and Sandoz.          And it

       24   worked.    Because in May and late April of this year, after we

       25   filed our case, CVS and Accredo signed the contracts saying




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        1   they will not dispense cartridges outside of Remodulin®, thus

        2   blocking us completely from the market.

        3           So Your Honor, I implore Your Honor -- first, I thank

        4   Your Honor for the time that Your Honor's giving us today as

        5   well as providing us with discovery because virtually

        6   everything that we alleged in our complaint is true.          But it's

        7   true to a more extreme than we ever thought.         We never thought

        8   that the defendants would risk patient lives by withholding

        9   cartridges.    We never thought that they would force the

       10   specialty pharmacies to do something they didn't want to do,

       11   and the only reason that the specialty pharmacies acquiesced

       12   is because they couldn't go out of cartridges and thus leave

       13   their own patients at risk.

       14           We had no idea that Mr. Benkowitz and the witnesses in

       15   this case would be so candid and tell us exactly what was

       16   going on, and we had no idea they would have documents within

       17   UT Smiths that shows that this was all designed to block us

       18   from entering the market.

       19           So Your Honor, thank you for providing us with

       20   discovery and the time today.      What I would tell Your Honor is

       21   that the clock is ticking.      We really need access to these

       22   cartridges, but more importantly, the public needs access to

       23   these cartridges.     Thank you, Your Honor.

       24             THE COURT:    Thank you.

       25             MR. PITT:    Your Honor, may I approach to hand up --




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        1              THE COURT:   Please.

        2              THE DEPUTY COURT CLERK:     Thank you.

        3              THE COURT:   So if you're just looking at this from

        4   afar, and you go back in history and there was the lawsuit

        5   that ultimately was resolved and the resolution was the

        6   generic can come to market at such-and-such a time.          And

        7   meantime, there's this event that occurred, and you're buying

        8   up the means to which the generic can go to market.

        9   Optically, how does that work?

       10              MR. PITT:    Well, Your Honor --

       11              THE COURT:   The way I said it.

       12              MR. PITT:    Respectfully, the way you said it, Your

       13   Honor --

       14              THE COURT:   Doesn't look good.

       15              MR. PITT:    -- is not actually what occurred.

       16              THE COURT:   I'm just saying the way I said it doesn't

       17   look good optically.

       18              MR. PITT:    If out of nowhere --

       19              THE COURT:   There was a nefarious plan --

       20              MR. PITT:    -- not proceeded by any other

       21   arrangements, which they're trying to say the world started in

       22   late 2018.

       23              THE COURT:   Right.

       24              MR. PITT:    The world started far before then with the

       25   arrangements that my client, United Therapeutics, put into




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        1   place to ensure that their patients would have adequate pumps

        2   and cartridges when they learned that Smiths was discontinuing

        3   those items.

        4               THE COURT:   I guess your position is we had enough

        5   foresight to look forward to see what was going to happen.              We

        6   wanted to protect our patients, so we fought the world and our

        7   patient's protected.

        8               MR. PITT:    Not exactly, Your Honor.    It's not that we

        9   had some clairvoyant power to know what was going to happen in

       10   the future.

       11               THE COURT:   They told you what was going to happen.

       12               MR. PITT:    They told everyone what was going to

       13   happened.    Sandoz indisputably was on notice.       The

       14   instances -- and why don't I just go right to it.           The

       15   instances of Sandoz being on notice are many.         2011 when they

       16   filed their ANDA, they expressly note that they need a

       17   cartridge reservoir for the drug in order to inject it

       18   subcutaneously.

       19           Three years later, 2014, they receive tentative

       20   approval so they know they're going to launch the drug.           What

       21   do they do at that time?      Nothing.

       22           2015, the following year, they settle the patent

       23   litigation, and they know there's an agreed entry date of June

       24   26th, 2018.

       25           The agreement, by the way, Your Honor, also has a




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        1   provision that expressly says that nothing in the agreement

        2   gives Sandoz any right to any pump or delivery system by a

        3   third party or by United Therapeutics.        That's directly in the

        4   agreement.

        5            It's undisputed that --

        6              THE COURT:   At that point the world knew what was

        7   happening with the pump and the cartridge.

        8              MR. PITT:    Well, certainly the customers did who had

        9   received the end of life notice.       And certainly Sandoz did

       10   right after then.

       11            2016, this email is by Yaping Zhu who -- Dr. Zhu is, I

       12   believe, the Senior Director of Device Development at Sandoz.

       13   And this email is to the leaders of the product launch.          It

       14   can't be disputed that Sandoz was on notice after having

       15   signed that Hatch-Waxan lawsuit settlement.

       16            On the topic of Hatch-Waxan, I think it's important to

       17   note a couple of things, just in response to what we've just

       18   heard.   First, Your Honor, Hatch-Waxan applies very

       19   specifically to the drug.      It provides no access to delivery

       20   mechanism, technology, or anything else.        It's all about the

       21   drug.

       22              THE COURT:   Understood.

       23              MR. PITT:    And everyone who plans to launch a high

       24   touch drug like this, and wants to be able to launch it to a

       25   patient population that will be -- will have it administered




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        1   subcutaneously knows there is a lot of work to do to ensure

        2   that there is a delivery system in place.        That is the work

        3   that my client did to ensure that its patients -- that there

        4   would be enough cartridges for its patients to use.

        5             And now the plaintiffs come along and say, well, the

        6   world actually started in 2018.       None of this stuff was here

        7   before.    I can show you why that's wrong, Your Honor, and why,

        8   in fact, the provisions that they are complaining about today

        9   have always been aspects of the agreement, which was always an

       10   exclusive arrangement with Smiths whereby Smiths would produce

       11   cartridges they wouldn't otherwise have produced.         Wouldn't

       12   have the charges here today to fight over if United

       13   Therapeutics hadn't made the upfront investment and assumed

       14   the risk, very importantly, for an activity that Smiths wasn't

       15   willing to continue to engage in.       We did those things with

       16   the expressed understanding -- and the contemporaneous

       17   evidence all supports this -- we did those things with the

       18   expressed understanding that, of course, they would be for our

       19   patients.

       20               THE COURT:   When does being forward-thinking, good

       21   business sense, you becoming worried about your supply to

       22   service your patients, when does that cross the line and

       23   become anticompetitive conduct?       Not in this case, you're

       24   going to say.

       25               MR. PITT:    I was just going to say some place beyond




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        1   what we've seen here.

        2           Your Honor, there is evidence, and we've submitted it,

        3   that demonstrates that our client has forecasts of -- and to

        4   be clear, in the past, every time we've had forecasts about

        5   the burn rate of these cartridges, we have undershot that burn

        6   rate significantly.     All of these additional instances of

        7   cartridge production are generally for two reasons.          One is we

        8   did not -- we thought cartridges would be used more slowly

        9   than they were, but they fluctuate wildly, the use -- the

       10   extent of the use does fluctuate.       And number two, all of what

       11   you -- what you see in these agreements is also reflective of

       12   the fact that people other than generics are trying to get

       13   these cartridges.

       14             THE COURT:    There was a point made that you didn't

       15   know where the cartridges were going.        They were being used

       16   for delivery of other medications.

       17             MR. GLASS:    For antinausea medication, 88,000

       18   cartridges.    RareGen itself tried to do a bulk purchase in

       19   January 2019 of 300,000 cartridges.       There are reasons why my

       20   client wanted to ensure that the original deal it struck,

       21   which involved having enough cartridges for its patients for

       22   an extended period of time because you need belt and

       23   suspenders.    You need to be able to plan.      You can't always

       24   know exactly when the next generation technologies are going

       25   to come online, and you can't always predict what the




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        1   fluctuations will be in the patient's use of the cartridges.

        2   And for all of those reasons, we set about ensuring that we

        3   would have a steady supply.      What they want to do now is say

        4   we did none of that.     And they say, well, we were bamboozled.

        5   We think actually what happened was the specialty pharmacies

        6   told us they could do it, but then they couldn't.         But if you

        7   look closely, you'll see that they never asked about

        8   cartridges until January 2019 was the first time they asked

        9   about a supply of cartridges.

       10           By the way, in early 2017, Your Honor, Sandoz wanted to

       11   test its drug.    They tried to obtain just two pumps and two

       12   cartridges, and they were unable to do it.        They were unable

       13   to do it because they weren't being sold on the market

       14   commercially because they had been discontinued.         Again, they

       15   say they had no notice, but event after event after event

       16   demonstrates that they did.

       17           So finally, in January 2019, they asked the question

       18   and they're told in no uncertain terms there are no cartridges

       19   for you because there is this exclusive arrangement.          Those

       20   cartridges are for United Therapeutics customers.

       21             THE COURT:    So let's walk outside this courtroom now

       22   and talk about the argument that counsel made that there are

       23   real people out there that have issues that need this drug

       24   that may not be able to afford this drug, and by keeping them

       25   out of this market, you're either depriving them of a




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        1   preferred method of delivery or they're not getting any drug.

        2              MR. PITT:    There is zero evidence of that, Your

        3   Honor, and, frankly, it is simply not the case.         First of all,

        4   the figures that they are using on price are -- the discounts

        5   and the like, that's not price paid by patients.         That's

        6   prices paid by payers, and those are decisions that go

        7   through -- they talk about -- by the way, in describing their

        8   alleged reputational harm, they talk about the specialty

        9   pharmacies won't trust us, the prescribers won't trust us,

       10   insurers and payers won't trust us.       Zero evidence of any of

       11   that in the record.     Absolutely nothing in the record on any

       12   of that.   They had additional depositions left over.         They

       13   complain that they had limited discovery, but they had

       14   additional depositions they didn't use.        For all the emphasis

       15   that they've placed on the importance of specialty pharmacies,

       16   the claim that they were threatened, which is absolutely not

       17   supported --

       18              THE COURT:   You say this is a money damage case?

       19              MR. PITT:    I'm saying it's not an antitrust case

       20   because there's no cause of action for a variety of reasons.

       21   But to the extent that one day they could demonstrate

       22   liability, then for a number of reasons, yes.         Number one,

       23   what they're claiming would be compensable by monetary

       24   damages, which the cases clearly reflect.        Number two, no

       25   evidence of any of what they're now claiming would occur, only




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        1   speculation by some of their own employees that they are

        2   worried that that kind of thing might occur.

        3           You know, the -- there is even testimony from the

        4   plaintiffs in which they concede that an injunction wouldn't

        5   remedy the reputational harm that they're now claiming.          But I

        6   want to actually get to another point about irreparable harm,

        7   if I may, unless you want to stay on that topic.

        8              THE COURT:   I'm curious.    Counsel brought up an

        9   interesting point about the 180-day exclusivity.         So they've

       10   lost that.   How is that calculable?      How is that repairable?

       11              MR. PITT:    Well, first of all, it's not something

       12   that they can recover for because it is self-inflicted.          I say

       13   that for two reasons.     The first is they did make a choice.

       14   They now have all kinds of explanations about why they did,

       15   but it is undisputed that they made a choice.         There is a

       16   slide which I'm not going to show because of our agreement

       17   with counsel, but I would ask you to look at slide 15, which

       18   is a table in which Sandoz and RareGen were debating, well,

       19   what should we do and what are the financial consequences of

       20   that?   And they ultimately made a decision to go for -- I know

       21   they put everything in terms of the patient, the patient, the

       22   patient.   They are not nonprofit companies.       They are

       23   interested in making a profit, and in that case they were

       24   interested in the short-term gain that this would afford them

       25   rather than waiting until they solved their cartridge problem




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        1   before launching.

        2           The 180-day exclusivity would also have waited for

        3   them, but they made the decision to launch.        And I don't see

        4   how they can now claim that that is irreparable harm that is

        5   compensable.    In connection with that point, Your Honor, the

        6   following slide 16 here demonstrates that at the time they

        7   made that decision, that expressly acknowledged that if they

        8   went with the intravenous only plan, it would result in payers

        9   not mandating generic substitution the harm they're now

       10   claiming they're suffering.      They knew all of this before they

       11   made the decision, but now they want to call it irreparable

       12   harm and say that it is somehow appropriate to upset what has

       13   been a nearly four-year arrangement for a supply that we have

       14   relied on and continue to rely on.       It's simply not the case

       15   that we wouldn't be harmed if all of a sudden Your Honor were

       16   to say those cartridges that you invested in and that you

       17   assumed the risk to have made and that you have always had an

       18   understanding with Smiths were for your patients and that

       19   you've built your business plans around and your distribution

       20   chain, those are now going to be given -- or some number of

       21   them are now going to be given to another company, of course

       22   we would be harmed, Your Honor.

       23             THE COURT:    When you say "your patients," though,

       24   clearly when you were the only drug on the market, they were

       25   your patients.    But now that there could be other drugs on the




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        1   market, don't your patients have a right to say I'd rather

        2   have a generic rather than a branded?

        3              MR. PITT:   Well, the patients may or may not have

        4   that right, Your Honor, but when the company that is making

        5   the generic drug is repeatedly on notice of the need to

        6   provide an administration mechanism and doesn't do it, the

        7   fact that some patients aren't able to get the generic for a

        8   certain kind of administration is not at our doorstep.          And

        9   the antitrust laws don't permit a competitor who is not an

       10   equally efficient competitor to come in at the last minute and

       11   sort of say, well, gee, we need what they have.         They planned

       12   for it, but we need it so now we want you to order it given to

       13   us.   That's simply now how they work.

       14            The -- just a couple of other points to touch upon some

       15   things we heard.    Obviously, if Your Honor has other

       16   questions -- I also wanted to mention that Mr. Boyle, who

       17   represents Smiths, may want to also say a few words.          And we

       18   only have kind of one time to stand up here, so I want to make

       19   sure that if I'm starting to push the limits of what Your

       20   Honor had in mind in terms of time, that we give Mr. Boyle

       21   some opportunity as well.

       22            But just a couple of other points.      They -- again, I

       23   would say that the -- that the alternatives that have been

       24   available to them are something that we haven't heard a lot

       25   about.   But one of the reasons why it's so critical to note




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        1   that in that -- in that whole seven-year period of time when

        2   the plaintiffs were repeatedly on notice of the need to

        3   provide for this, what could they have done?         Well, they could

        4   have done any number of things.       They could have done what

        5   they ultimately wound up doing in May of 2019 and contracted

        6   with somebody to start manufacturing a cartridge.         They claim

        7   they weren't aware of that.      But the fact is, Your Honor, they

        8   had no arrangement, no agreement, no contract with somebody --

        9   a specialty pharmacy or otherwise -- to manufacture a

       10   cartridge for them, no written commitment of this supply.

       11   This particular supply is yours, and your patients will have

       12   access to it.    None of that until in May of 2019 they finally

       13   contracted with a company -- whose name I've agreed not to

       14   state in open court -- but they've contracted with a company

       15   who then, in a matter of just a few months, was able to

       16   produce a prototype.     We have no visibility into why they

       17   haven't yet sold it.     We asked -- all of the documents suggest

       18   that September or October was the date in which that was to

       19   occur.   We have not -- we've asked for some discovery of that

       20   and they've not given it to us, so we don't really have any

       21   visibility into why now they have not yet sold it.         But we do

       22   know they had also sought to make arrangements with another

       23   company.   Again, I won't mention the name here.        And they

       24   ultimately sent a breakup letter to that company saying we're

       25   not interested.    We're going with this other company.




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        1           The cost for these things, by the way, developing a

        2   prototype was cited at around $50,000.        We're not talking

        3   about a huge cost.     If you'd like to see what a cartridge

        4   looks like, it's this.     This is the cartridge that we are

        5   fighting over today.

        6           I want to talk just briefly about the fact -- the sort

        7   of world not starting in late 2018 point.        By the way, also

        8   many options, before I get there, of pumps, that the ability

        9   -- both experts in this case agree you can customize --

       10             THE COURT:    What was your company doing prior to this

       11   product coming on the market as far as delivery?

       12             MR. PITT:    As far as prior to the CADD MS®3 coming on

       13   the market?

       14             THE COURT:    Yes.

       15             MR. PITT:    I believe we believed we used the MiniMed.

       16   There was another pump that we used called the MiniMed, and

       17   that pump is still being used, I believe, in other countries.

       18   Could be cleared, if one wanted to try to go through the

       19   process of clearing it through the FDA, could be cleared again

       20   for use in this country.

       21           The MS®3 itself, by the way, used to be an insulin

       22   pump.   It was modified essentially with some software

       23   modifications so that it was capable of dispensing Remodulin®

       24   subcutaneously.    That's what Smiths did.      That's how they got

       25   the pump originally.     Both experts in this case have agreed




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        1   that to do that now would involve a time period of 12 to 24

        2   months.    They both agree it could be done in that time period

        3   of a cost of around one-and-a-half to three-and-a-half million

        4   dollars.    Frankly, all of which is a pretty small fraction, if

        5   you look at the following slide, which I'm not going to show

        6   in open court.

        7               THE COURT:   22?

        8               MR. PITT:    Yes.   It's a small fraction of what it

        9   would have cost or, rather, what the parties believed or what

       10   the plaintiffs believed they were going to make in just their

       11   first year of operation here.

       12             On the point, Your Honor, of whether the world started

       13   in late 2018, I don't need to go through all of this because

       14   it's -- it is in our papers, Your Honor, but I do want to be

       15   clear that the contemporaneous evidence strongly supports the

       16   fact that this agreement has always been an exclusive

       17   arrangement between Smiths and United Therapeutics.          There

       18   were amendments along the way when various things happened,

       19   when we saw cartridges flying off the shelves and we realized

       20   we needed to do something in order to honor the purpose and

       21   effect of that original agreement.       But the agreement has

       22   always involved exclusivity.

       23             You know, a quick word, I guess, on the public interest

       24   and on -- well, I guess really on the public interest in

       25   particular.




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        1           Again, I've already discussed the fact that there is no

        2   evidence that any patient is being harmed.        In fact, their own

        3   employees testified that no patient is being deprived of any

        4   drug.   There is no evidence in the record that any patient is

        5   actually even paying more.      There is evidence about the

        6   pricing to specialty pharmacies, not to patients.

        7           The public interest is not furthered when companies are

        8   disincentivized from having foresight and making investments

        9   and assuming risks in order to prepare for their future needs

       10   and then know that they will risk having another company,

       11   their competitor, direct competitor, come along and simply

       12   strip them of the fruits of their investment.         That does not

       13   serve the public interest, Your Honor.

       14           We've got a number of other points in our papers, but I

       15   think at this point I've really covered most of what I was

       16   intending to cover with Your Honor, but I'm glad to answer

       17   further questions or else to turn things over to Mr. Boyle to

       18   make the points that he was interested in making.

       19             THE COURT:    Okay.

       20             MR. PITT:    Thank you, Your Honor.

       21             THE COURT:    I think you have about nine minutes.

       22             MR. BOYLE:    Thank you, Your Honor.     Peter Boyle for

       23   Smiths Medical.    I just want to make a few points.

       24           Smiths has been trying to wind down the MS®3 product

       25   line for five years now.      The reason it's in the middle of




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        1   this case is because it did the right thing for patients by

        2   entering into a supply arrangement with United Therapeutics to

        3   extend production on both the MS®3 pump and the MS®3

        4   cartridge.

        5           To be clear, the pump is discontinued.        Smiths stopped

        6   making that product and selling it in 2017.        The cartridges,

        7   which now seem to be the focus of this case, those products

        8   would not exist today but for the arrangement with United

        9   Therapeutics and Smiths.

       10           Counsel for plaintiffs made reference to our

       11   end-of-life notice for the pump.       That went out in August

       12   2015.   They want to act like that notice did not tell

       13   customers what was going on with cartridges at that time.           If

       14   you look at the end-of-life notice, Smiths told customers in

       15   August 2015 that cartridges would be available for around

       16   another three years.     We submitted a declaration from Carl

       17   Stamp in connection with these proceedings.        Mr. Stamp was

       18   head of marketing and business strategy at Smiths back in

       19   2015.   He clearly states in his declaration, in the absence of

       20   the UT arrangement with Smiths, Smiths would have stopped

       21   making those cartridges some time in 2018.        They would not

       22   have been available for the generic launch of this product.

       23           One of the positions that plaintiffs have taken with

       24   respect to the cartridge is the margins on the cartridge --

       25   the gross margins were so high that in some gerrymandered




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        1   but-for world, Smiths would've just kept making these products

        2   indefinitely.    That's not true.     Smiths had already decided to

        3   discontinue this product.

        4           We have evidence from Chris Quinn.       We submitted a

        5   declaration from him.     And Nate Walker has -- who is one of

        6   our global product managers -- gave a deposition.         If you look

        7   at those pieces of evidence, Your Honor, you'll see Smiths was

        8   not going to continue making these products.

        9           Just to put this in perspective, in fiscal year 2019,

       10   that ended in July, Smiths only made about $500,000 in

       11   revenue.   That's top line revenue -- not profit -- on the

       12   cartridges.    I mean, we seem to be talking about hundreds of

       13   millions of dollars, and plaintiffs are suggesting they, they,

       14   they are going to make all this money.        Smiths isn't making

       15   that type of money off of this product.

       16           To continue the cartridge production, Smiths and

       17   plaintiffs point to this evidence.       Smiths would have had to

       18   retool the mold.    That's a $300,000 expense.       They would have

       19   had to qualify new resin.      That's about a $220,000 expense

       20   that the record shows.

       21           So if you compare that to the revenues Smiths was

       22   making off of this product, the economics don't make it worth

       23   the while of Smiths to continue making the product but for the

       24   investment by United Therapeutics.

       25           Now, if you look at the record, it is clear Smiths did




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        1   not try to keep a generic off the market in this instance.              In

        2   2016, it told Sandoz two or three times that MS®3 was going to

        3   be discontinued.    In fact, one of our people told Sandoz that

        4   it doesn't make sense to bring a new drug to market on the

        5   back of a discontinued product.       Sandoz ignored us.     They went

        6   forward anyway.    They took the position, we're a drug

        7   manufacturer.    Devices are not our problem.

        8             In 2019, when they found out they really had a problem,

        9   they came back to Smiths.      Now, at that time all the cartridge

       10   production that was still available was contractually

       11   committed to United Therapeutics.       It had been committed years

       12   before.    But even though Smiths could not sell cartridges to

       13   the plaintiffs, it tried to help them.        It offered them the

       14   CADD legacy pump.    That's the pump that's used for IV infusion

       15   of Remodulin®, Your Honor.      It has subcutaneous functionality.

       16             Smiths also offered to license the cartridge

       17   technology, help them figure out the product specifications,

       18   know-how around product development and product manufacturing.

       19   They turned that down.     We can't help that.

       20             One thing is really clear.    Smiths did not take any

       21   action here that kept this generic off the market.         This is

       22   not an antitrust problem.      Whatever problem it is, it's not an

       23   antitrust problem.

       24             The one thing I will say, just to follow up on what Mr.

       25   Pitt said in response to plaintiff's counsel's argument, there




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        1   seems to be some suggestion here that the plaintiffs are

        2   really taking it on the chin in terms of price.         Our economist

        3   in his expert report has some facts in there that show that in

        4   this environment, the brand of generic are being reimbursed by

        5   payers, Medicare, Medicaid payers, at the same rate.

        6           They also have a slide in here on page 14 of their

        7   slide deck showing that the brand actually lowered the amount

        8   of co-pay for the patient.      So we actually may be in a

        9   situation now where the patient today may be paying less for

       10   the brand than the generic.

       11           So that is one final point.      So with that, Your Honor,

       12   for defendants, we'd just ask that you deny the preliminary

       13   injunction.    We also urge Your Honor to take a look at our

       14   motion to dismiss and grant that as well.        If there are no

       15   further questions or any questions --

       16             THE COURT:    No.   Thank you.

       17             MR. BOYLE:    Thank you.

       18             MR. KENT:    Good morning, Your Honor.

       19             THE COURT:    Welcome.

       20             MR. KENT:    Matthew Kent from Alston & Bird on behalf

       21   of the plaintiff Sandoz Inc.       PowerPoint seems to be very

       22   popular today, so I have one to provide you as well.

       23             THE COURT:    Okay.

       24             MR. KENT:    Your Honor, the argument that Sandoz and

       25   RareGen were not diligent is nothing but an effort and




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        1   misdirection to misdirect this Court away from the defendant's

        2   conduct in this case from their efforts to block patients from

        3   a cheaper generic alternative.      And there are two points that

        4   I want to walk the Court to that are specifically responsive

        5   to some of your questions that you posed to defendant's

        6   counsel as well as Mr. Glass.

        7           First, I'm going to walk through the evidence that

        8   shows that Sandoz and RareGen were diligent in pursuing their

        9   launch of treprostinil.     And second, I'm going walk through

       10   the timeline because I think it's critical that the Court

       11   understands when these restrictions were put in place because

       12   it shows that the free-riding argument that the defendants are

       13   setting forth doesn't make sense.       It shows that the fact that

       14   the cartridges were not actually restricted at all for

       15   specialty pharmacies before 2019, it's something we actually

       16   agree on, and it also shows that the purpose and the intent of

       17   these arrangements was to block generic competition.

       18           So let's start with Sandoz and RareGen's diligence.

       19   Now, I understand the diligence story.        Your Honor correctly

       20   got to the crux in the initial questions that you were asking

       21   Mr. Glass.   We have Sandoz and RareGen who produce the drug,

       22   and their customers, they are the specialty pharmacies.          The

       23   specialty pharmacies here, they're the ones that provide the

       24   drug to patients, and they have always provided the cartridges

       25   and provided the pumps to patients.




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        1           And so when we think about the launch here, Sandoz and

        2   RareGen did exactly what you would expect a company to do.

        3   They went and they spoke to their customers at Accredo, and

        4   they asked them, what do we need to provide?         And we see in

        5   August of 2017, on Exhibit 906, that Accredo confirmed -- I

        6   have it highlighted in yellow -- Accredo expects Sandoz to

        7   provide treprostinil vials only.       And that's critical.     That's

        8   diligence.    Sandoz was going to its customers and it was

        9   asking, what do we need to provide, and it got an answer.

       10           They also did the same thing with CVS.        We did not cite

       11   this particular presentation in our brief, but Exhibit 907 is

       12   a CVS presentation that talks about how CVS SP will procure

       13   the pumps.

       14           RareGen did the same thing.      It talked to Accredo.       It

       15   sent emails in May of 2018.      That's Exhibit 314.     It asks

       16   whether or not Accredo would have to provide pumps and

       17   cartridges or whether they, RareGen, would have to come up

       18   with those.    And Accredo responded no.      We handle the pumps.

       19             THE COURT:    Well, at that point, does your client

       20   know what's going on with Smiths?

       21             MR. KENT:    Well, Your Honor, I think this is a great

       22   effort at a sleight of hand in this direction because this is

       23   not a problem with the pump.      So counsel for the defendants,

       24   they keep talking about the end-of-life notice that was sent

       25   in 2015 by Smiths, but that is an end-of-life notice for the




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        1   pumps.   It is undisputed that that did not relate to

        2   cartridges.    And, in fact, when you look at that end-of-life

        3   notice, you'll see that it talks about the cartridges being

        4   made for many years in the future.       And in fact, we saw in the

        5   marketplace that the specialty pharmacies, Accredo and CVS,

        6   were able to continue to supply pumps and cartridges to

        7   patients.   There was no reason for Sandoz and RareGen to think

        8   that UTC would use coercive, extreme measures to try to get

        9   those specialty pharmacies to agree to those restrictions.

       10            And Mr. Glass didn't have a chance to go through, but

       11   if Your Honor would look at slide 3 of the PowerPoint

       12   presentation that Mr. Glass had, it has some of the salacious

       13   statements that the specialty pharmacies were going through.

       14   We're in serious need of product and will not be able to

       15   service our patients.     This will have a significant impact on

       16   our patients.    This is a huge risk to the patients.        They were

       17   withholding cartridges that are needed, lifesaving medicines

       18   that are needed for patients in order to extract efforts to

       19   block the generic.

       20            And I'll tell Your Honor, the most clear evidence of

       21   that blocking is cited in our brief.       It's Exhibit 475.     And

       22   it's on page 16 of our papers.      It says, "We have a contract

       23   amendment from UTC that requires us to only sell to MS®3

       24   cartridges to UTC designated customers.        It is very important

       25   to UTC to prevent generic drug users."




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        1             And that's precisely what's happened.      They have

        2   blocked generic drug users by creating a restriction so that

        3   specialty pharmacies cannot use those cartridges for patients

        4   with generic treprostinil.

        5             I want to show one thing that we do agree on which is

        6   the timeline.    It is undisputed in this case that Sandoz and

        7   RareGen didn't know of the cartridge restrictions until

        8   January of 2019.    And let's put up the timeline.       There are a

        9   lot of agreements in this case, Your Honor, and in fact, in

       10   reading the statement of facts, it can be hard to follow.            So

       11   we created a timeline of these agreements.

       12             Now, the defendants want you to believe that with the

       13   end-of-life notice that they were somehow diligent and that

       14   they came up with a path forward and were, in essence, free

       15   riding.    That is simply not the case.      The end-of-life notice

       16   came out before the first agreement was entered into.          But

       17   ultimately, these agreements are not the most important ones

       18   in this case because they relate to pumps.

       19             Now, if you go to the next slide, each of the

       20   agreements that I've marked an X over, they don't restrict the

       21   cartridges.    The cartridge restrictions were not even done in

       22   January of 2019.    They were done in April and in May of 2019.

       23   And so in January, when Sandoz, when RareGen first learned of

       24   the issue with the cartridge restrictions, they immediately

       25   spring into action.     They immediately start to try to figure




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        1   out what is going on here.      But before 2019, there were no

        2   cartridge restrictions on the specialty pharmacies.          And

        3   that's critical.

        4           We cite to the testimony of each of the Sandoz and

        5   RareGen's employees that confirm this point.         That's on page

        6   39 of our papers.    And I want to show the Court just the

        7   initial pages of each of these agreements where there's

        8   finally the restriction.      Because, again, April of 2019 is

        9   when that restriction comes into place.

       10           Now, we can look also at the CVS, which is Exhibit 723,

       11   the May 2019 agreement.

       12           Now, defendants, they -- the idea that a generic

       13   drugmaker would need to go out and develop and manufacture its

       14   own device, that's just wrong as a matter of fact and it's

       15   wrong as a matter of law.      And Your Honor hit on a very

       16   critical point.    It requires the Court to find that Sandoz

       17   would have or should have assumed that UTC was going to breach

       18   that patent settlement.     And I want to take a look at that

       19   patent settlement because it's critical to this case.

       20           So we have the settlement in September of 2015.            It's

       21   Exhibit 1006, and it's clear, UTC was not to take any action,

       22   directly or directly, to prevent, delay, limit or otherwise

       23   restrict the launch.

       24           Now, they keep pointing to a clause about the delivery

       25   devices, but that related to UTC-developed delivery devices.




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        1   There was no way for Sandoz and RareGen to know that UTC and

        2   Smith would get together and would sign agreements that

        3   effectively blocked the generic from entering the market by

        4   having these cartridge restrictions.

        5           Now, the bottom line is that without UTC's blocking

        6   conduct, without the restrictions on the cartridges that

        7   weren't in place until April or May of 2019, Sandoz and

        8   RareGen would have brought a cheaper, lower cost generic to

        9   the market to serve subcutaneous patients.        And as Mr. Glass

       10   said, it's important for us to be able to come to market and

       11   bring a product to reduce costs because that is what our

       12   companies are all about.

       13           Now, Sandoz and RareGen did launch the IV.        They chose

       14   in March of this year to launch in the IV space.         And the

       15   reason they did that is because it's the right decision.           It's

       16   the right decision morally.      It's the right decision

       17   ethically.   It's the right decision as a matter of law.         And

       18   I'm sure that had Sandoz and RareGen decided not to launch in

       19   the IV space, UTC would have been thrilled because it would

       20   have continued.    It would have allowed them to main their

       21   monopoly not just over the subcutaneous market through their

       22   blocking of the cartridges, but also over the IV space.

       23           And, again, that, Your Honor, is just another

       24   diversion.   It's another effort to try to avoid and misdirect

       25   the Court from the coercive and bad conduct of the defendants.




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        1             Your Honor, I'd like to provide the rest of my time to

        2   my co-counsel, Mr. Glass.      Thank you.

        3               MR. GLASS:   Hello again, Your Honor.

        4               THE COURT:   How are you?

        5               MR. GLASS:   So with the last few minutes I would like

        6   to reflect upon what is not in dispute.        What is not in

        7   dispute is as of today, there is no competitor to Remodulin®

        8   subcutaneous.    As of today, the competition that RareGen and

        9   Sandoz bring to IV is severely impaired by the blocking of the

       10   subcutaneous route.      As of today, UTC is making an incredible

       11   profit.

       12             And I heard Smith's counsel say that they're innocent

       13   in all of this, but as we all know, they are a co-conspirator.

       14   They've engaged in overt acts.      They are on the hook.

       15   Whatever contractual provisions they have between themselves

       16   are invalid and unenforceable.      And they certainly can't be an

       17   excuse for engaging in any competitive conduct.

       18             As of today, the defendants are blocking competition to

       19   the detriment of not only RareGen and Sandoz, but patients,

       20   prescribers, and payers.

       21             They should not be allowed to benefit from that

       22   conduct.    That's why the antitrust laws are here:       To preserve

       23   competition.    The only argument I really heard from defendants

       24   is that you should conflate pumps and cartridges.         Because

       25   there was an end of life pump notice in 2015, we should assume




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        1   that everyone in the market knew the cartridges were going to

        2   be unavailable.    But that's not consistent with the facts.            As

        3   Mr. Kent noted, that end-of-life notice says in the end

        4   cartridges weren't end of life.       And in fact, the cartridge

        5   end-of-life notice didn't come until this year.

        6            Second, defendants are arguing that somehow their

        7   secret agreement to monopolize and extend the patent to block

        8   competition is something that we should have fixed.          How can

        9   that be the standard in an antitrust case where the -- the

       10   plaintiffs not only need to somehow, without discovery, figure

       11   out what was going on, but then remedy it?        We saw the slides

       12   about the alternative options.      One option was new pumps.       Two

       13   years.   That's what the slide said.      Two years.    None of those

       14   are approved to be used in the United States.         None can be

       15   approved for a long period of time.

       16            We heard that all they want to do is serve Remodulin®

       17   patients.   But Your Honor, the Remodulin® patients are

       18   everyone.   So every patient we take, they don't need to serve.

       19            As we heard from the president of the UTC, as well as

       20   many other witnesses, there is enough resin to make cartridges

       21   for ten years.    There is no limit on cartridges except the

       22   limit that they've imposed on the specialty pharmacies to

       23   dispense them.    This is not about them serving patients.

       24            Finally, there's this notion that cartridges wouldn't

       25   exist but for the secret agreement.       First, that's




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        1   self-serving testimony that doesn't match with the evidence.

        2   And Your Honor has plenty of evidence to review to see that

        3   that's just not true.

        4            Smiths may have wanted to discontinue the pumps, but

        5   the cartridges are a different story.        They didn't discontinue

        6   them.   And Your Honor, as we engaged, if they had a problem

        7   with the profitability of the cartridges, the simple solution

        8   is to raise the price.     In fact, had Smiths put the cartridges

        9   up for auction and said, look, UTC, bid against RareGen and

       10   Sandoz, they would have maximized the value of these

       11   cartridges.    But instead, in a secret agreement, they sold

       12   them for pennies on the dollar.       That's not our fault.

       13            As we've said earlier today, if they're up for auction

       14   today, we would outbid UTC.      That's how important these

       15   cartridges are to us.

       16            So I don't want the distractions of all the timelines

       17   and all of the quotes to miss that today patients are losing

       18   out.    And in fact, the patient assistance program shows

       19   exactly how they're losing out.       It's not just that specialty

       20   pharmacies pay more.     It's not just that insurers pay more.

       21   It's not just that Medicare and Medicaid pay more.         All those

       22   should matter.    It's that patients pay more.

       23            Your Honor, this is a very important case.       There are

       24   not a lot of people who take these, but those who do, it costs

       25   an incredible amount of money.




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        1             THE COURT:    Okay.

        2             MR. GLASS:    Thank you, Your Honor.

        3             THE COURT:    Thank you.

        4             Counsel.

        5             MR. PITT:    If Your Honor would permit me just a quick

        6   moment to respond to some of those points.

        7             THE COURT:    Sure.

        8             MR. PITT:    That would be wonderful.      Thank you.   I'll

        9   be very brief, Your Honor.

       10           First, I wanted to point out that Mr. Kent pointed to

       11   an email from August 10th, 2017, in which Accredo said all you

       12   need to do is just give us the vials.        I wanted to point out

       13   that there is another part of that timeline which is -- this

       14   is in our papers, but Sandoz had gotten a report from McKinzie

       15   that said due to the pump issues, there's a substantial chance

       16   of a delayed launch.

       17           Sandoz then, in December of 2017, shut down its launch.

       18   They suspended it for those reasons.       So the idea that that

       19   one Accredo email somehow gave them all of the certainty they

       20   needed in order to do a complex and very expensive launch like

       21   this doesn't really match with the evidence.

       22           The end-of-life notice point, the end-of-life notice

       23   did pertain to cartridges.      It -- what it states is that there

       24   will be enough cartridges to serve the then extent pumps.

       25   That is another three years.




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        1           The contemporaneous documents, which we've cited in our

        2   papers, demonstrate that had there been no restriction on the

        3   use of those cartridges, those cartridges only would have

        4   lasted until February 2019.      That is a month before Sandoz and

        5   RareGen decided to launch.      It was only through the Remodulin®

        6   only restrictions that they were projected to last until 2022

        7   at the outset.

        8           The point about the supposedly coercive and extreme

        9   tactics taken with the specialty pharmacies, Your Honor, I

       10   would only say that their quotes are extremely selective.

       11   There is -- it is completely undisputed that every order for

       12   cartridges placed by a specialty pharmacy was fulfilled.

       13   Every single one.    There was no denial of any order of

       14   cartridges.    The witnesses testified that there were no

       15   threats.   And, in fact, the witness who negotiated with the

       16   specialty pharmacies, not for the contract between Smiths and

       17   the specialty pharmacies, which were not never even executed,

       18   which they're talking about, but the United Therapeutics'

       19   contracts with the specialty pharmacies, he testified that

       20   there were absolutely no problems.       They opted not to depose

       21   anyone from the specialty pharmacy.       And I think it's fair to

       22   ask why that is.

       23           Just a couple of other points.       The -- what they say

       24   they want to do, they want to ask you to look at the aspects

       25   of the arrangement between Smiths and United Therapeutics that




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        1   they don't like and to condemn those without looking at the

        2   overall arrangement that existed and that the contemporaneous

        3   evidence shows always existed between those two parties.            The

        4   law doesn't permit that kind of disaggregation of an economic

        5   relationship when analyzing the economic or competitive

        6   effects of it.    And the evidence doesn't support that.

        7            The settlement clause that says there is no entitlement

        8   to a delivery mechanism does reference other pumps made by

        9   third parties and delivery mechanisms made by third parties.

       10   And the -- I guess those are the primary points I wanted to

       11   address.   Thank you, Your Honor.

       12              THE COURT:   Counsel, thank you very much.

       13            I will permit a five-page closing, if you will.        I was

       14   going to say 14 days, but that's a horrible end date.          So

       15   seven.   This way at least you can have a week and hopefully

       16   not focus on this case.

       17              MR. BENNETT:   Seven days.    The 17th.

       18              THE COURT:   Let's see.    Ten?

       19              MR. GLASS:   Your Honor, I mean, it's a long time for

       20   these cartridges to be unavailable.

       21              THE COURT:   Okay.    You want three?

       22              MR. GLASS:   I don't speak for Sandoz, but we'll be

       23   prepared to submit as quickly as Your Honor can take it.

       24              THE COURT:   Seven?

       25              MR. BENNETT:   Seven is fine with us.




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        1              THE COURT:   Seven.   Okay.    Anything further?

        2              MR. GLASS:   Thank you, Your Honor.

        3              THE COURT:   Counsel, thank you very much.       Wonderful

        4   job in papers and verbally today.        Enjoy the holidays as best

        5   you can.   Thank you.

        6              THE DEPUTY COURT CLERK:     All rise.

        7              (Court concludes at 12:33 p.m.)

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        1                FEDERAL OFFICIAL COURT REPORTER'S CERTIFICATE.

        2                    - - - - - - - - - - - - - - - - - - - - -

        3
        4        I certify that the foregoing is a correct transcript from

        5   the record of proceedings in the above-entitled matter.

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       11   /S/ Megan McKay-Soule, RMR, CRR         December 11, 2019

       12              Court Reporter                                  Date

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